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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF VERMONT
________________________________________________________________________

JONATHAN A. BLOOM,

                               Plaintiff,

       v.                                                     Civil No. 5:16-cv-121

ALEX AZAR,
Secretary of the U.S. Department of Health
and Social Services,

                        Defendant.
______________________________________________________________________________

         DR. BLOOM’S REPLY RE: NOTICE OF SUBSEQUENT AUTHORITY

       Dr. Bloom replies to the Secretary’s claim that the subsequent authority relates to the

issue of “substantial justification.” Opp. at 1-2. In fact, as Dr. Bloom noted in his papers, the

subsequent authority relates to the issue of deterrence. The subsequent authority demonstrates

that the negative decision from this Court (as well as two other District Courts), more than 40

Administrative Law Judges and the Secretary’s own Civil Remedies Division have not deterred

the Secretary from continuing to deny continuous glucose monitor (“CGM”) claims on the

grounds that a CGM is not “primarily and customarily used for a medical purpose.” As noted in

Dr. Bloom’s papers, one purpose of an Equal Access to Justice Act (“EAJA”) award is to

prospectively deter unreasonable government action. Thus, the continued negative decisions by

the Secretary on this grounds (regardless of the beneficiary) illustrates that an EAJA award is

necessary to prospectively deter the Secretary.

       Moreover, the Secretary’s Opposition brief appears to attempt to foist the burden of

preventing unreasonable action onto individual beneficiaries. That is both backwards and a
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demonstration of why an EAJA award is necessary. Apparently, only an EAJA award has any

prospect of deterring the Secretary.

       Dated at Burlington, Vermont this 7th day of June, 2018.

                                                     JONATHAN A. BLOOM


                                             By:     /s/ Debra M. Parrish
                                                     Debra M. Parrish, Esq. (pro hac vice)
                                                     Bridget M. Noonan, Esq. (pro hac vice)
                                                     PARRISH LAW OFFICES
                                                     788 Washington Road
                                                     Pittsburgh, PA 15228
                                                     debbie@dparrishlaw.com
                                                     bridget@dparrishlaw.com




                                             By:     /s/ Craig S. Nolan
                                                     Craig S. Nolan, Esq.
                                                     SHEEHEY FURLONG & BEHM P.C.
                                                     30 Main Street, 6th Floor
                                                     P.O. Box 66
                                                     Burlington, VT 05402-0066
                                                     (802) 864-9891
                                                     cnolan@sheeheyvt.com



                             CERTIFICATE OF CONFERENCE

       The signator above hereby certifies that counsel for Dr. Bloom (Mr. Pistorino) conferred in

good faith with counsel for the Secretary (Ms. Renaldo) in an effort agree or narrow the issues and

agreement was not reached.

                                             By:     /s/ Debra M. Parrish
                                                     Debra M. Parrish, Esq. (pro hac vice)
                                                     PARRISH LAW OFFICES
                                                     788 Washington Road
                                                     Pittsburgh, PA 15228
                                                     debbie@dparrishlaw.com



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                                CERTIFICATE OF SERVICE

       I, Craig S. Nolan, counsel for Jonathan A. Bloom, do hereby certify that on June 7, 2018,

I electronically filed with the Clerk of Court the following document:

         DR. BLOOM’S REPLY RE: NOTICE OF SUBSEQUENT AUTHORITY

using the CM/ECF system. The CM/ECF system will provide service of such filing via Notice

of Electronic Filing (NEF) to the following NEF parties:

                              Melissa A.D. Ronaldo, Esq.
                              Assistant United States Attorney
                              P.O. Box 570
                              Burlington, VT 05401
                              (802) 951-6725
                              Melissa.Ronaldo@usdoj.gov

       Dated at Burlington, Vermont this 7th day of June, 2018.



                                     By:     /s/ Craig S. Nolan
                                             Craig S. Nolan, Esq.
                                             SHEEHEY FURLONG & BEHM P.C.
                                             30 Main Street, 6th Floor
                                             P.O. Box 66
                                             Burlington, VT 05402-0066
                                             (802) 864-9891
                                             cnolan@sheeheyvt.com




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